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6                               UNITED STATES DISTRICT COURT
7                                       DISTRICT OF NEVADA
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9
10    UNITED STATES OF AMERICA,                          2:11-cr-0434-LDG-PAL
11           Plaintiff,
                                                         ORDER
12    v.
13    EDUARD PETROIU, et al.,
14           Defendants.
15
16          THE COURT HEREBY ORDERS that Magistrate Judge Leen is authorized to handle all
17   CJA budget matters in this case.
18
19          Dated this ____ day of February, 2012.
20
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22                                                   ________________________
                                                     Lloyd D. George
23                                                   United States District Judge
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